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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No.

 THE TRAVELERS INDEMNITY COMPANY,

                Plaintiff,

 v.

 FLOOD DAMAGE RESTORATION, LLC,

                Defendant.



                                         COMPLAINT


       Plaintiff The Travelers Indemnity Company (“Travelers”) files this Complaint against

Defendant Flood Damage Restoration, LLC (“Defendant”) and alleges as follows, upon actual

knowledge with respect to itself and its own acts, and upon information and belief as to all other

matters.

                                   NATURE OF THE CASE

       1.      This is an action for trademark infringement under 15 U.S.C. § 1114(1),

trademark infringement and false designation of origin under 15 U.S.C. § 1125(a), trademark

dilution under 15 U.S.C. § 1125(c), deceptive trade practices under Col. Rev. Stat. § 6-1-101

seq., and common law trademark infringement, unfair competition, and misappropriation.

Travelers’ claims arise out of Defendant’s infringement and dilution of Travelers’ famous

trademarks TRAVELERS, the Travelers umbrella logo           , and the composite mark

              (collectively, the “Travelers Marks”) that Travelers and its predecessors in interest
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have used for decades in connection with insurance and insurance-related products and services,

including claims services.

         2.     Defendant is making unauthorized use of the Travelers Marks to promote and sell

its water damage repair and restoration services, and continues to do so despite multiple

objections from Travelers. As detailed below, Defendant’s unauthorized use of the Travelers

Marks is likely to cause confusion with and to dilute the famous Travelers Marks.

                                           THE PARTIES

         3.     Plaintiff The Travelers Indemnity Company is a corporation of the State of

Connecticut with a principal place of business at One Tower Square, Hartford, Connecticut

06183.

         4.     Defendant Flood Damage Restoration, LLC is a Colorado limited liability

company with an address of 1012 Aspen Place, Pueblo, Colorado 81006.

                                  JURISDICTION AND VENUE

         5.     This action arises under the federal Trademark Act, 15 U.S.C. § 1051, et seq., and

the related laws of the State of Colorado. This Court has jurisdiction over the subject matter of

this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338(a) and (b). Further, this

Court has supplemental jurisdiction over Travelers’ state-law claims pursuant to 28 U.S.C.

§ 1367(a) because those claims are substantially related to Travelers’ federal claims and arise out

of the same operative facts.

         6.     This Court has personal jurisdiction over Defendant and venue is proper in this

district pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is a resident of this District

and has its principal place of business in this District, and a substantial part of the acts or



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omissions giving rise to the claims occurred and are occurring in this District. Venue is also

proper because Defendant is subject to personal jurisdiction in this District.

                     TRAVELERS, ITS INSURANCE PRODUCTS AND
                      SERVICES, AND ITS FAMOUS TRADEMARKS

       7.      Travelers has been in the insurance business for more than 160 years.

       8.      Travelers has long been one of the leading providers of a variety of personal and

commercial insurance products and services to individuals, businesses, and organizations in the

United States. Travelers is one of the top three writers of personal property and casualty

insurance through independent agents in the United States, including #1 in homeowners

insurance. Travelers is also the largest writer of both commercial multi-peril insurance and

workers compensation insurance in the United States. Travelers has approximately 30,000

employees as of December 31, 2019.

       9.      Travelers’ products and services are sold in all 50 states through its independent

agents and brokers, exclusive agents and brokers, direct marketing (including toll-free telephone

numbers and Internet websites), and/or salaried employees. Travelers has relationships with

more than 13,500 independent agents and brokers selling Travelers’ insurance products and

services in the United States, and has had a similar number of independent agents and brokers for

many years. There are 279 independent agents and brokers in Colorado that sell Travelers’

insurance products and services in over 700 locations. Travelers also has approximately 750

employees in Colorado, including in Travelers’ field office in Colorado Springs.

       10.     Travelers has been a Fortune 500 company since 1995. Travelers is the only

property and casualty insurance company included in the Dow Jones Industrial Average, the




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stock market index that tracks the performance of 30 of the largest corporations in America.

Travelers has been a part of the Dow Jones Industrial Average since June 2009.

       11.     For more than a century, Travelers has used the TRAVELERS trademark and

trade name for providing insurance products and services, including the underwriting and issuing

of property and casualty insurance and related claims services. For decades, Travelers has also

used the umbrella trademark shown below and variations thereof as its corporate logo and

trademark for providing its insurance products and services. The Travelers umbrella trademark

has been in continuous use for insurance services since as early as 1960 by Travelers and its

predecessors-in-interest to the mark.




       12.     Travelers uses the Travelers umbrella trademark alone and together with its

TRAVELERS trademark and tradename, including since as early as 2007 in the stylized

composite format shown below.




       13.     The trademarks alleged in Paragraphs 11 and 12 above are collectively referred to

as the “Travelers Marks.”

       14.     As part of its insurance claims services, Travelers has a vast network of approved

third-party service providers and vendors for dealing with property insurance claims, including

remediation and restoration contractors. Travelers maintains a database of authorized service

providers on its website at www.travelers.com, which insureds can search to find an approved

service provider by ZIP CODE, as shown below.



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       15.     Travelers’ approved service providers and claim vendors submit to thorough

background checks and agree to various criteria including, but not limited to, maintaining proper

licenses and insurance, providing a warranty to the insured for work performed, and promptly

responding to and resolving customer complaints. As a condition to becoming an approved claim

vendor, all prospective claim vendors must agree during the application process to refrain from

using any of Travelers’ trademarks without the express prior written consent of Travelers.

       16.     In addition to its strong common law rights in the Travelers Marks based on use

of those marks for decades, Travelers owns, among others, the following valid and subsisting

United States trademark registrations for marks comprised of or containing the Travelers Marks:


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         Mark/
   Registration & Use
                                                     Goods/Services
      Information

      TRAVELERS           Direct mail marketing for insurance agents, promoting the sale of
                          goods and/or services of others by advertising campaigns,
 Reg. No. 1611053         counseling in regard to cost management, and rehabilitation
 Reg. Date: 08-28-1990    services, namely, cost control and job placement services in Class
 App. Date: 06-29-1988    35 (First use: February 1978)
 First Use: as early as
 1865                     Underwriting and administering services for commercial, personal
                          and group insurance, fidelity, surety and guaranty bonding services,
                          credit card services, and counseling services in regard to insurance
                          claim administration in Class 36 (First use: March 1, 1865)

                          (Among other goods and services in Classes 16, 28, 38, 41, and,
                          42)
                          Underwriting casualty, fire, marine and inland marine insurance
                          services; fidelity, surety and guaranty bonding services; agency and
                          brokerage services in connection with the preceding named
                          services, and counseling in regard to accident prevention in Class
                          36
 Reg. No. 1161313
 Reg. Date: 07-14-1981
 App. Date: 12-19-1979
 First Use: 1961
                          Insurance underwriting services in the fields of property and
                          casualty, fire, allied lines, farmowners multiple peril, homeowners
                          multiple peril, commercial multiple peril, ocean marine, inland
                          marine, earthquake, workers' compensation, other liability, product
                          liability, private passenger auto liability, commercial auto liability,
 Reg. No. 3417048         auto physical damage, fidelity, surety, burglary and theft, boiler and
 Reg. Date: 04-29-2008    machinery, and reinsurance; insurance claims services and
 App. Date: 03-15-2007    administration; insurance claims processing insurance claims
 First Use: 1961          adjusting; insurance agency and brokerage services, namely,
                          policyholder services and services to agents and brokers; providing
                          information in insurance matters risk management and risk
                          management consultation in Class 36




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         Mark/
   Registration & Use
                                                    Goods/Services
      Information

                         Insurance underwriting services in the fields of property and
                         casualty, fire, allied lines, farmowners multiple peril, homeowners
                         multiple peril, commercial multiple peril, ocean marine, inland
                         marine, earthquake, workers' compensation, other liability, product
 Reg. No. 3417049        liability, private passenger auto liability, commercial auto liability,
 Reg. Date: 04-29-2008   auto physical damage, fidelity, surety, burglary and theft, boiler and
 App. Date: 03-15-2007   machinery, and reinsurance; insurance claims services and
 First Use: 1961         administration; insurance claims processing; insurance claims
                         adjusting; insurance agency and brokerage services, namely,
                         policyholder services and services to agents and brokers; providing
                         information in insurance matters; risk management and risk
                         management consultation in Class 36
                         Promoting the sale of goods and/or services of others through the
                         development and distribution of printed material; direct mail
                         marketing services for others in the field of insurance; business
                         counseling in regard to cost management; employment
 Reg. No. 3494647        rehabilitation services, namely, medical cost control management,
 Reg. Date: 09-02-2008   business consultation in the field of workers' compensation,
 App. Date: 04-02-2007   employee benefits and employment return-to-work placement
 First Use: 02-27-2007   services in Class 35

                         Insurance underwriting services in the fields of property and
                         casualty, fire, allied lines, farmowners multiple peril, homeowners
                         multiple peril, commercial multiple peril, ocean marine, inland
                         marine, earthquake, workers' compensation, other liability, product
                         liability, private passenger auto liability, commercial auto liability,
                         auto physical damage, fidelity, surety, burglary and theft, boiler and
                         machinery, and reinsurance; claims adjustment in the field of
                         insurance; insurance claims processing and administration; risk
                         control and loss prevention consultation; risk control and loss
                         prevention services, namely, risk management; electronic
                         processing of insurance claims; insurance agency and brokerage
                         services, namely, policyholder services and services to agents and
                         brokers; providing information in insurance matters in Class 36
                         Educational services, namely, providing training programs in the
                         field of insurance in Class 41

                         Providing on-line non-downloadable software in the field of
                         insurance in Class 42



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         Mark/
   Registration & Use
                                                    Goods/Services
      Information

                         Promoting the sale of goods and/or services of others through the
                         development and distribution of printed material; direct mail
                         marketing services for others in the field of insurance; business
                         counseling in regard to cost management; employment
 Reg. No. 3494648        rehabilitation services, namely, medical cost control management,
 Reg. Date: 09-02-2008   business consultation in the field of workers' compensation,
 App. Date: 04-02-2007   employee benefits and employment return-to-work placement
 First Use: 02-27-2007   services in Class 35

                         Insurance underwriting services in the fields of property and
                         casualty, fire, allied lines, farmowners multiple peril, homeowners
                         multiple peril, commercial multiple peril, ocean marine, inland
                         marine, earthquake, workers' compensation, other liability, product
                         liability, private passenger auto liability, commercial auto liability,
                         auto physical damage, fidelity, surety, burglary and theft, boiler and
                         machinery, and reinsurance; claims adjustment in the field of
                         insurance, insurance claims processing and administration, risk
                         control and loss prevention consultation; risk control and loss
                         prevention services, namely, risk management; insurance claims
                         and; insurance agency and brokerage services, namely,
                         policyholder services and services to agents and brokers; providing
                         information in insurance matters in Class 36

                         Educational services, namely, providing training programs in the
                         field of insurance in Class 41

                         Providing on-line non-downloadable software in the field of
                         insurance in Class 42
                         Insurance underwriting services in the fields of property and
                         casualty, commercial lines, farm, auto commercial, boiler and
                         machinery, commercial multi peril, liability, inland marine, fidelity,
                         surety, crime, workers compensation, property, identity fraud
 Reg. No. 3991520        reimbursement, kidnap and ransom, excess and surplus, personal
 Reg. Date: 07-12-2011   lines, personal auto, homeowners, high valued homeowners,
 App. Date: 07-06-2009   dwelling fire, boat/yacht, personal articles floater, wedding
 First Use: 02-27-2007   insurance, and reinsurance; insurance claims administration;
                         insurance claims processing; insurance claims adjusting; insurance
                         agency services; providing information in the field of insurance,
                         providing a website with information and resources in the field of
                         insurance; and insurance and insurance-related services in the


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         Mark/
   Registration & Use
                                                   Goods/Services
      Information

                         nature of loss prevention and risk control management for others in
                         Class 36
                         Insurance underwriting services in the fields of property and
                         casualty, commercial lines, farm, auto commercial, boiler and
                         machinery, commercial multi peril, liability, inland marine, fidelity,
                         surety, crime, workers compensation, property, identity fraud
 Reg. No. 3991521        reimbursement, kidnap and ransom, excess and surplus, personal
 Reg. Date: 07-12-2011   lines, personal auto, homeowners, high valued homeowners,
 App. Date: 07-06-2009   dwelling fire, boat/yacht, personal articles floater, wedding
 First Use: 02-27-2007   insurance, and reinsurance; insurance claims administration;
                         insurance claims processing; insurance claims adjusting; insurance
                         agency services; providing information in the field of insurance;
                         providing a website with information and resources in the field of
                         insurance; and insurance and insurance-related services in the
                         nature of loss prevention and risk control management for others in
                         Class 36
                         Insurance underwriting services in the fields of property and
                         casualty, commercial lines, farm, auto commercial, boiler and
                         machinery, commercial multi peril, liability, inland marine, fidelity,
                         surety, crime, workers compensation, property, personal lines,
 Reg. No. 4085572        personal auto, homeowners, boat/yacht, dwelling fire, identity fraud
 Reg. Date: 01-17-2012   reimbursement, kidnap and ransom, excess and surplus, high
 App. Date: 07-06-2009   valued homeowners, personal articles floater, wedding insurance,
 First Use: 12-31-1961   and reinsurance; insurance claims administration; insurance claims
                         processing; insurance claims adjusting; insurance agency services;
                         providing information in the field of insurance; providing a website
                         with information and resources in the field of insurance; and
                         insurance and insurance-related services in the nature of loss
                         prevention and risk control management for others in Class 36
                         Insurance underwriting services in the fields of property and
                         casualty, commercial lines, farm, auto commercial, boiler and
                         machinery, commercial multi peril, liability, inland marine, fidelity,
                         surety, crime, workers compensation, property, personal lines,
                         personal auto, homeowners, boat/yacht, dwelling fire, identity fraud
 Reg. No. 4085573        reimbursement, kidnap and ransom, excess and surplus, high
 Reg. Date: 01-17-2012   valued homeowners, personal articles floater, wedding insurance,
 App. Date: 07-06-2009   and reinsurance; insurance claims administration; insurance claims
 First Use: 12-31-1961   processing; insurance claims adjusting; insurance agency services;
                         providing information in the field of insurance; providing a website
                         with information and resources in the field of insurance; and


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          Mark/
    Registration & Use
                                                         Goods/Services
       Information

                              insurance and insurance-related services in the nature of loss
                              prevention and risk control management for others in Class 36
                              Financial services, namely, preloaded debit card services for
                              payment of insurance claims in Class 36


 Reg. No. 4649396
 Reg. Date: 12-02-2014
 App. Date: 02-11-2010
 First Use: 2007
                              Financial services, namely, preloaded debit card services for
                              payment of insurance claims in Class 36


 Reg. No. 4649397
 Reg. Date: 12-02-2014
 App. Date: 02-11-2010
 First Use: 2007


Printouts of the details of these registrations are attached as Exhibit A.

       17.     The registrations listed above constitute prima facie evidence of Travelers’

ownership of and exclusive rights to use the Travelers Marks in connection with the services

recited in the registrations. Moreover, U.S. Reg. Nos. 1,611,053; 1,161,313; 3,417,048;

3,417,049; 3,494,647; 3,494,648; 3,991,520; 3,991,521; 4,085,572; and 4,085,573 are

incontestable and constitute conclusive evidence of Travelers’ ownership of and exclusive rights

to use the Travelers Marks in connection with the services recited in those registrations.

       18.     Travelers has established considerable and valuable trademark rights and

goodwill in the Travelers Marks by virtue of its long use and registration of those trademarks, the

substantial promotional and marketing efforts under and in connection with those trademarks and



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the expenditure of vast sums for such efforts, the massive sales of products and services offered

under those trademarks, and third-party acclaim and attention.

       19.     Revenues generated from products and services sold in connection with the

Travelers Marks over the years have been substantial, including revenues exceeding $200 billion

since 2010 alone. Travelers also had revenues of many billions of dollars in revenue under the

Travelers Marks prior to 2010.

       20.     Travelers has spent many millions of dollars over the years advertising and

promoting its products and services throughout the United States under the Travelers Marks in

various media and forms (e.g., television, magazines, newspapers, websites, and sponsorships),

including tens of millions of dollars annually for many years.

       21.     Travelers has for many years engaged in extensive television advertising

prominently featuring the Travelers Marks to promote its insurance and insurance-related

products and services, as shown in the examples below. Travelers’ television advertisements

prominently featuring the Travelers Marks have for years appeared on major national television

networks and cable television networks (e.g., ESPN), including during various prime-time

television shows, feature films on television, news broadcasts, documentaries, and professional

sporting events watched by millions. Between 2011 through November 2018 alone, Travelers’

commercials, all of which prominently displayed the Travelers Marks, were broadcast more than

100,000 times in the U.S., with more than 22 billion total impressions (i.e., the number of times

the commercial is viewed) during that time period.




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                 1968                                       1986




                 1991                                       2007




                 2012                                         2010




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                        2015                                             2015




                      2016                                                2019




                                             2020

       22.    Travelers has prominently displayed the composite mark                       in

television commercials continuously since 2007, including as shown in the above examples.

       23.    Travelers has also engaged for many years in extensive online advertising

prominently featuring the Travelers Marks to promote its insurance and insurance-related

products and services. Travelers prominently displays its Travelers Marks on its own websites,


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including http://www.travelers.com, on its social media pages (e.g., Facebook, Twitter,

YouTube, LinkedIn), and through significant advertising on third-party websites.

       24.    Travelers also displays the Travelers Marks on all of its printed marketing

materials, including on its insurance policies and consumer communications (e.g., invoices,

notices, claims communications, insurance cards) as shown in the examples below, exposing

countless consumers to the Travelers Marks.




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       25.     The Travelers Marks have also been prominently used in connection with high-

profile sponsorships for years. For example, since 2007, Travelers has been the title sponsor of

the PGA TOUR’s annual Travelers Championship golf tournament. Through this sponsorship,

millions of people are exposed to the Travelers Marks, as it is prominently featured throughout

the week-long tournament, including as the tournament’s logo; on tee markers, caddy bibs,

hospitality tents, and a winner’s jacket; and as an immensely-popular floating umbrella-shaped

green, as shown in the examples below.




       26.     Travelers has also for years been a sponsor of University of Connecticut

(“UConn”) athletics, including UConn’s NCAA Division I football and basketball teams. The

UConn women’s basketball program is one of the most successful Division 1 programs in the

country, winning a record 11 national championships. The UConn men’s basketball team has

also been very successful, having won four national championships over the years. The Travelers

Marks prominently appear at UConn sporting events, including at the football, baseball, and

hockey stadiums and arenas as shown in the examples below. These uses of the Travelers Marks




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are visible not only to the fans attending these sporting events but also to the countless fans

watching these events on television and through internet streaming.




       27.     For many years, Travelers has also been a sponsor of the New York City Ballet

(“NYCB”). Performing out of the famed Lincoln Center in New York City, the NYCB is one of

the foremost dance companies in the world, with a roster of extraordinary dancers and an

unparalleled repertory. Among other uses in connection with the NYCB, the Travelers Marks are




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prominently displayed on the NYCB home page, in the NYCB theater, including a permanent

display, and in NYCB advertisements, as shown in the examples below.




       28.     In addition, the Travelers Marks have for many years received extensive

unsolicited media attention nationwide, including in many national, regional, and local

newspapers, blogs, websites, press releases, and trade journals, among other outlets. Among the

countless articles that have been written about Travelers and its insurance and insurance-related

products and services, many have specifically recognized the brand recognition, strength, and/or

fame of the Travelers Marks by referring to them as either “famous,” an “icon of instant

recognition,” “iconic,” or a “signature” logo, among other superlatives. Such media attention of


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the Travelers Marks has occurred in leading publications read or viewed by millions of people,

including The New York Times, The Wall Street Journal, and Adweek, to name a few, including

as shown in the examples below.

      DATE            AUTHOR, ARTICLE TITLE, PUBLICATION NAME, EXCERPT


  12-02-1995      Another insurance casualty, The Economist, “Ultimately, Travelers was able
                  to offer the highest price. Thanks to its strong brand name and cost-cutting
                  prowess, it is now in a good position to capitalise on the trends transforming
                  America's troubled property-casualty industry.”

  05-24-1997      David Gonzalez, “Criticism Never Rains But It Pours,” The New York Times,
                  “As corporate logos go, the red Travelers umbrella ranks with icons of
                  instant recognition like Prudential’s rock or Disney’s mouse ears. ‘It’s a
                  beautiful device,’ said Tom De Vito, a retired ad man. ‘The minute you see
                  the red umbrella, you say Travelers.’”
  09-30-1997      Allan Sloan, “Buffet’s Decision About Salomon Proves Everyone Makes
                  Mistakes,” The Washington Post, “Consider, if you will, last week's
                  announcement of a $9 billion takeover of Salomon Brothers Inc., the giant
                  investment banking house, by Travelers Group Inc., a financial conglomerate
                  best known for its red umbrella logo.”
  06-08-2006      Diane Levick, Travelers In Spotlight; Re-Branding, Ad Campaign Will Raise
                  Hartford’s Profile, Hartford Courant, “The decision to go solo with the
                  Travelers name in U.S. marketing again won praise Wednesday in Hartford. ‘I
                  think it's wonderful,' said Robert F. Flynn, executive director of the Insurance
                  and Financial Services Cluster, a state-corporate partnership to foster the
                  industries. ‘Travelers is such a renowned name throughout the nation.’''

  06-21-2009      Business Wire, “2009 Travelers Championship Swings into Action,” “[T]he
                  company’s famous logo, the red umbrella, which is infused throughout
                  the branding of the tournament….”
  12-04-2009      B. Garcia, “Insurers Learn the Art of the Deal,” The Miami Herald, “At the
                  Affordable Art Fair in Manhattan, also sponsored by Travelers, the insurer
                  runs a packing station so buyers can ship their new artwork home, wrapped
                  and sealed with packing tape emblazoned with the Travelers’ signature red
                  umbrella logo.”
  07-16-2010      S. McClellan, “100 Mil. Travelers Biz Goes to MediaCom,” Adweek,
                  “Travelers, whose iconic red umbrella logo appears in much of its
                  advertising….”



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      DATE            AUTHOR, ARTICLE TITLE, PUBLICATION NAME, EXCERPT


  10-12-2011       Business Wire, “Travelers Red Umbrella to be Featured at the National
                   Trademark Expo October 14-15,” “Travelers will showcase its iconic red
                   umbrella ….”
  06-07-2013       South Carolina Bankers Association Selects Travelers as Preferred Provider
                   for State's Community Banks; Travelers SelectOne+® offers flexible,
                   customizable coverage, including for cyber risks, Business Wire, “"Travelers
                   brings a wealth of benefits to the community bankers who are serving our
                   residents across the state," said Fred Green, President and Chief Executive
                   Officer of the South Carolina Bankers Association. "I believe their strong
                   brand and comprehensive products offer a tremendous value to our
                   members."”

  08-28-2016       Natasha Singer, “Jay Fishman, 63; Led Travelers During Financial Crisis,”
                   The New York Times, “By investing its insurance premiums in more stable
                   vehicles, like fixed-income securities, he helped make Travelers, known for
                   its signature red umbrella logo, a high-performing financial company.”
  06-17-2018       Chris Brodeur, “If You’re Going,” The Hartford Courant, “All the standard
                   handheld fare is offered, headlined by a signature burger that has the iconic
                   red Travelers umbrella stamped into its bun.”

       29.     The renown of the Travelers Marks has also been recognized in a number of

books about brands. For example, the book America’s Greatest Brands (2009) states: “[f]ew

promotional images are as iconic as the Travelers red umbrella.” And Iconic America: A Roller

Coaster Ride Through the Eye-Popping Panorama of American Pop Culture by Tommy Hilfiger

(2011) says “[t]he red TRAVELERS umbrella is one of the great American business icons. . . .”

The Travelers Marks appear in these publications alongside other household brands such as

NASCAR, CAMPBELL'S, NFL, SUBWAY, and others.

       30.     As a result of Travelers’ long and extensive use of the Travelers Marks, and the

significant sales, promotion, advertising, third-party acclaim, and commercial success under the

marks, each of the Travelers Marks have achieved such widespread public exposure and



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recognition that they possess a high degree of inherent and acquired distinctiveness and have

been well known and famous among the general consuming public of the United States for many

years.

                  DEFENDANT’S INFRINGEMENT AND DILUTION OF
                        THE FAMOUS TRAVELERS MARKS

         31.   According to its website at www.fdrestoration.net, Defendant is a water damage

and flood damage restoration company. Defendant is registered to do business in and offers its

services to clients in the State of Colorado.

         32.   Defendant prominently advertises and promotes on the homepage of its website

that it can bill insurance companies on a customer’s behalf for Defendant’s water and flood

damage repair services. In doing so, Defendant makes prominent, unauthorized use of the

Travelers Marks as shown below.




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       33.     Defendant’s unauthorized use of the Travelers Marks does much more than is

necessary to identify Travelers as an insurance company that Defendant can bill directly on

behalf of policyholders. As shown in the example above, rather than identify Travelers in non-

descript, plain text as an insurance company that Defendant can bill directly, Defendant uses the

exact stylized Travelers Marks to do so. Defendant does so in large, prominent fashion on the

homepage of its website and with other insurance company logos, which further increases the




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likelihood that consumers will mistakenly assume some endorsement or authorization by

Travelers that does not exist.

       34.     There is no need for Defendant to display the Travelers Marks in this fashion to

convey to the public that Defendant can bill directly on behalf of policyholders. Defendant can

do so by simply using “Travelers” in plain, non-stylized text, which is what Defendant has done

in the past as shown in the example below of an archived version of Defendant’s website.




       35.     Defendant’s unauthorized use of the Travelers Marks creates the false impression

that Defendant is part of Travelers, an approved vendor of Travelers, that Travelers endorses or

approves of Defendant or Defendant’s services, and/or that Defendant is otherwise affiliated with

or connected with Travelers or Travelers’ products and services when no such connection,

affiliation, or endorsement exists. Consumers are especially likely to believe that such affiliation

exists here because Travelers has an extensive claim vendor referral program, including

numerous vendors that provide water and flood damage restoration services.



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                        TRAVELERS’ OBJECTIONS AND
             DEFENDANT’S CONTINUED USE OF THE TRAVELERS MARKS

       36.     On April 27, 2020, Travelers sent a letter to Defendant by email objecting to

Defendant’s unauthorized use of the Travelers Marks and asking Defendant to stop such use.

Defendant responded the same day refusing to remove the Travelers Marks from Defendant’s

website.

       37.     On April 28, 2020, Travelers again requested via email that Defendant remove the

Travelers Marks from its website, informing Defendant that using “Travelers” in non-stylized

plain text (as opposed to copies of the stylized Travelers Marks) is sufficient to identify

Travelers to Defendant’s customers. Defendant responded the same day, stating: “Good try, file

your motion. . . . Please do not contact me again, and tell your outside counsel to do the same.”

       38.     On May 21, 2020, Travelers, through its outside counsel, sent a letter to

Defendant again requesting that Defendant cease using the Travelers Marks, and stated once

again that Travelers would have no objection to Defendant using “Travelers” in plain text in a

truthful manner to state that “Travelers” is one of the insurance companies that Defendant can

bill directly on a customer’s behalf. Defendant responded the same day refusing to stop using the

Travelers Marks, stating “Good try” and “File your motion.”

       39.     Defendant continues to use the Travelers Marks on its website despite Travelers’

multiple objections. Defendant’s continued use of the Travelers Marks to advertise and promote

its water and flood damage services despite knowledge of Travelers’ trademark rights and

Travelers’ objections demonstrates that Defendant is willfully trading upon the goodwill of

Travelers and the Travelers Marks and/or recklessly disregarded, and continues to disregard,

Travelers’ rights.


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       40.     Defendant’s actions described above are and have been intended to mislead

consumers into believing that Defendant is part of Travelers, an approved vendor of Travelers,

that Travelers endorses or approves of Defendant or Defendant’s services, and/or that Defendant

is otherwise affiliated with or connected with Travelers or Travelers’ products and services when

no such connections, affiliations, or endorsements exist.

                        INJURY TO TRAVELERS AND THE PUBLIC

       41.     Defendant’s actions described above with respect to the unauthorized use of the

Travelers Marks have damaged and irreparably injured and, if permitted to continue, will further

damage and irreparably injure Travelers, the Travelers Marks, and Travelers’ reputation and

goodwill associated with the Travelers Marks. Defendant’s actions also damage the public’s

interest in being free from confusion as to the source, sponsorship, and/or affiliation of

Defendant’s services.

       42.     Defendant’s unauthorized use of the Travelers Marks is likely to cause confusion,

mistake, or deception as to the source or origin of Defendant’s services and commercial

activities, and is likely to falsely suggest a sponsorship, connection, license, or association of

Defendant and/or its services with Travelers and/or Travelers’ services.

       43.     Defendant’s unauthorized use of the Travelers Marks is likely to dilute the

distinctiveness of the famous Travelers Marks.

       44.     Defendant was aware of Travelers’ prior rights in the famous Travelers Marks

before using the Travelers Marks and thus Defendant has acted willfully with respect to

Travelers’ prior trademark rights.

       45.     Travelers has no adequate remedy at law.



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                            FIRST CLAIM FOR RELIEF
   (Trademark Infringement Under Section 32(a) of the Lanham Act, 15 U.S.C. § 1114(a))

       46.      Travelers repeats and realleges each and every allegation set forth above.

       47.      Without Travelers’ consent, Defendant used in commerce the Travelers Marks,

and continues to use in commerce the Travelers Marks, as described above, which are

reproductions, copies, and/or colorable imitations of Travelers’ registered marks, as described

above, in connection with the offering, sale, and advertising of Defendant’s services, which is

likely to cause confusion, or to cause mistake, or to deceive, in violation of Section 32 of the

Lanham Act, 15 U.S.C. § 1114.

       48.      The actions of Defendant described above have at all times relevant to this action

been willful.

       49.      As a direct and proximate result of the actions of Defendant as alleged above,

Travelers has been and will continue to be damaged and irreparably harmed.

       50.      Travelers has no adequate remedy at law.

                            SECOND CLAIM FOR RELIEF
   (Trademark Infringement, False Designation of Origin, and Unfair Competition Under
            Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A))

       51.      Travelers repeats and realleges each and every allegation set forth above.

       52.      Defendant’s use of the Travelers Marks, as described above, is likely to cause

confusion, mistake, or deception as to the origin, sponsorship, or approval of Defendant’s

services and commercial activities, and thus constitutes trademark infringement, false

designation of origin, and unfair competition with respect to the Travelers Marks, in violation of

Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).




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       53.      The actions of Defendant described above have at all times relevant to this action

been willful.

       54.      As a direct and proximate result of the actions of Defendant as alleged above,

Travelers has been and will continue to be damaged and irreparably harmed.

       55.      Travelers has no adequate remedy at law.

                            THIRD CLAIM FOR RELIEF
      (Trademark Dilution Under Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c))

       56.      Travelers repeats and realleges each and every allegation set forth above.

       57.      Based at least on the inherent and acquired distinctiveness of the Travelers Marks;

the duration and extent of use of these trademarks; the commercial success under these

trademarks; the duration and extent of advertising featuring these trademarks and the vast sums

of money expended on such activities; Travelers’ nationwide sales and advertising of its products

and services under or featuring these trademarks; the degree of public recognition and media

attention of the Travelers Marks; and Travelers’ federal registrations of these trademarks, the

Travelers Marks have become famous, as that term is used in Section 43(c) of the Lanham Act,

and have been famous for many years.

       58.      Defendant’s use of the Travelers Marks, as described above, all occurring after

the Travelers Marks became famous, is likely to dilute the famous Travelers Marks in violation

of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

       59.      The actions of Defendant described above have at all times relevant to this action

been willful.

       60.      As a direct and proximate result of the actions of Defendant as alleged above,

Travelers has been and will continue to be damaged and irreparably harmed.


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       61.     Travelers has no adequate remedy at law.

                        FOURTH CLAIM FOR RELIEF
    (Common Law Trademark Infringement, Unfair Competition, and Misappropriation)

       62.     Travelers repeats and realleges each and every allegation set forth above.

       63.     Defendant’s use of the Travelers Marks, as described above, constitute common

law trademark infringement, unfair competition, and misappropriation of Travelers’ goodwill

under the common law of Colorado.

       64.     As a direct and proximate result of the actions of Defendant alleged above,

Travelers has been and will continue to be damaged and irreparably harmed.

       65.     Travelers has no adequate remedy at law.

                              FIFTH CLAIM FOR RELIEF
      (Violation of Colorado Consumer Protection Act Colo. Rev. Stat. § 6-1-101 et seq.)

       66.     Travelers repeats and realleges each and every allegation set forth above.

       67.     Defendant’s use of the Travelers Marks, as described above, is likely to deceive

customers into believing that Travelers endorses, supports, sponsors, approves, and/or authorizes

Defendant’s services when Travelers does not, and/or that Defendant is otherwise affiliated with

or connected with Travelers or Travelers’ products and services, when it is not, and thus

constitutes deceptive trade practices in violation of Colorado Rev. Stat. § 6-1-105, et seq.

       68.     The actions of Defendant described above have at all times relevant to this action

been willful, wanton, and in bad faith within the meaning of Colo. Rev. Statute §§ 6-1-113 and

13-21-102.

       69.     As a direct and proximate result of the actions of Defendant alleged above,

Travelers has been and will continue to be damaged and irreparably harmed.



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       70.     As a direct and proximate result of the actions of Defendant alleged above, the

public has been significantly impacted as actual or potential consumers of Defendant’s services.

       71.     Travelers has no adequate remedy at law.

                                     PRAYER FOR RELIEF

       WHEREFORE, Travelers prays that this Court enter judgment in its favor on each and

every claim for relief set forth above and award it relief including, but not limited to, the

following:

       A.      An Order declaring that Defendant’s use of the Travelers Marks constitutes

trademark infringement and unfair competition and unfair trade practices, and is likely to dilute

the Travelers Marks under federal and/or state law, as detailed above;

       B.      An injunction permanently enjoining Defendant and its employees, officers,

directors, principals, parents, subsidiaries, affiliates, related companies, and all persons in active

concert or participation with any of them:

               1.      From using or displaying any of the Travelers Marks including, but not

       limited to, in connection with any other wording or designs, and from using any other

       marks, logos, designs, images, designations, or indicators that are confusingly similar to

       any of the Travelers Marks, or likely to dilute the distinctiveness of any of the Travelers

       Marks, in any unauthorized manner in connection with any products or services,

       including without limitation Defendant’s water and flood damage services, Defendant’s

       website(s), any other websites or online platforms including social media and apps,

       promotional and advertising materials and signage (but not enjoining use of “Travelers”




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       in plain text in a truthful manner to state that “Travelers” is one of the insurance

       companies that Defendant can bill directly on a customer’s behalf);

               2.      From representing by any means whatsoever, directly or indirectly, that

       Defendant, any products or services offered by Defendant, or any activities undertaken by

       Defendant, are associated or connected in any way with Travelers including, but not

       limited to, using any of the Travelers Marks or any confusingly similar designs, images,

       logos, icons, or marks (but not enjoining use of Travelers in plain text in a truthful

       manner to state that “Travelers” is one of the insurance companies that Defendant can bill

       directly on a customer’s behalf); and

               3.      Instructing, assisting, aiding, or abetting any other person or business

       entity in engaging or in performing any of the activities referred to in subparagraphs B.1

       through B.2 above;

       C.      An Order directing Defendant to immediately destroy or permanently remove, as

applicable, the Travelers Marks from all of Defendant’s websites (including, but not limited to,

Defendant’s www.fdrestoration.net website), third-party websites (including, but not limited to,

Defendant’s social media pages), advertising, promotional materials, television commercials,

videos, signage, posters, displays, brochures, catalogs, newsletters, manuals, forms, stationery,

promotional merchandise, print materials, and any other materials and things that bear or display

any of the Travelers Marks, or any other designs, images, logos, icons, or marks that are

confusingly similar to or likely to dilute any of the Travelers Marks (but not destroying or

permanently removing use of “Travelers” in plain text in a truthful manner to state that




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“Travelers” is one of the insurance companies that Defendant can bill directly on a customer’s

behalf);

       D.      An Order directing Defendant to immediately cancel all printing and placements

of any advertisements, promotional materials, signs, and listings, including directory listings, in

any media or format bearing or displaying any of the Travelers Marks, or any other designs,

images, logos, icons, or marks that are confusingly similar to or likely to dilute any of the

Travelers Marks (but not canceling printing or placements of “Travelers” in plain text in a

truthful manner to state that “Travelers” is one of the insurance companies that Defendant can

bill directly on a customer’s behalf);

       E.      An Order directing Defendant to file with this Court and serve on Travelers’

attorneys, within thirty (30) days after the date of entry of any injunction, a report in writing and

under oath setting forth in detail the manner and form in which it has complied with the

injunction;

       F.      An Order requiring Defendant to account for and pay to Travelers any and all

profits arising from the foregoing acts of infringement, false designation of origin, dilution, and

unfair competition, and increasing such profits for payment to Travelers in accordance with

15 U.S.C. § 1117 and other applicable statutes and laws;

       G.      An Order requiring Defendant to pay Travelers compensatory damages in an

amount as yet undetermined caused by the foregoing acts of infringement, false designation of

origin, dilution, and unfair competition, and trebling such compensatory damages for payment to

Travelers in accordance with 15 U.S.C. § 1117 and other applicable statutes and laws;




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       H.      An Order requiring Defendant to pay Travelers compensatory damages in an

amount as yet undetermined caused by the foregoing acts of unfair competition and unfair trade

practices and trebling such compensatory damages for payment to Travelers in accordance with

Col. Rev. Stat. § 6-1-113 and other applicable statutes and laws;

       I.      An Order requiring Defendant to pay Travelers’ costs and attorney’s fees in this

action pursuant to 15 U.S.C. § 1117, and other applicable statutes and laws, including Col. Rev.

Stat. § 6-1-113; and

       J.      Other relief as the Court may deem appropriate.




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Dated: July 30, 2020                  Respectfully submitted,



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